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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK
------------------------------------ x
                                        :
SPERO HARITATOS,                        :
                                        :
                          Plaintiff,    :   05 Civ. 930 (DNH/GJD)
                                        :
                 - against -            :
                                        :
HASBRO, INC.                            :
and TOYS "R" US-NY LLC,                 :
                                        :
                          Defendants.   :
                                        :
------------------------------------ x



                    PROTECTIVE ORDER GOVERNING CONFIDENTIALITY

       The Parties, through their respective counsel, having met and conferred regarding the

terms of a protective order in the above-captioned case, and having come to an agreement

regarding certain terms of the protective order but not others, the following protective order is

hereby entered by the Court:

               1.      This Protective Order Governing Confidentiality (“Protective Order”)

shall apply to all information, materials or things subject to discovery in this action, (“Discovery

Material”) including, without limitation, documents, testimony, inspections and responses

provided pursuant to the Federal Rules of Civil Procedure, which contain confidential or trade


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secret information. As used herein, the term “Party” shall mean: (a) Plaintiff, Spero Haritatos;

(b) Defendants Hasbro, Inc. (“Hasbro”) and Toys “R” Us-NY LLC (“TRU”); and (c) any other

parties later named in this action.

               2.      Documents and information obtained by or made available to any Party by

means other than through the discovery provisions of the Federal Rules of Civil Procedure or

analogous provisions of state or foreign law shall not be subject to this Protective Order.

Furthermore, nothing in this Protective Order shall prevent disclosure beyond the terms of this

Protective Order if the designating party consents in writing to such disclosure or if the Court

allows such disclosure as provided for in Paragraphs 17 and 20.

               3.      The Discovery Material may be designated, in appropriate circumstances

as “CONFIDENTIAL." Discovery Material designated as “CONFIDENTIAL” includes

technical, marketing, business, and trade information generally unknown and essentially

unavailable to the public. The identification of Discovery Materials with this designation is

referred to herein as “Confidential Designation”

               4.      Any party (including any third party not named in this action) that is

required to produce materials or information in discovery in this case may make Confidential

Designations on Discovery Material only for which the designating party believes, in good faith,

there is good cause for confidential treatment.

               5.      The Confidential Designation of documents and other information need

not be made prior to the inspection of such documents or other information by the receiving

party, but shall be made at or prior to the furnishing of copies by affixing to every page a stamp

bearing the words “CONFIDENTIAL” in a location that makes the designation readily apparent.

The Confidential Designation may also be affixed to any documents generated in the course of




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this litigation, including portions of briefs, memoranda or any other writings filed with the Court,

that reveals any material with a Confidential Designation.

               6.      A Party shall have the right to request Confidential Designation for

documents called for by subpoena to a third party, in cases where the documents were provided

by the Party to the third party pursuant to an agreement that the information was being provided

on a confidential basis, provided such request is made to the third party, and copied to the other

Party, within fourteen (14) days of production of the documents to the requesting party or its

counsel.

               7.      Unless otherwise ordered by the Court, all information, materials or things

with a Confidential Designation shall be used solely for the purpose of this litigation and of

pursuing or defending legal rights relating to this litigation (including in the pending and any

other Trademark Trial and Appeal Board proceeding between two or more of the parties

concerning the CANDYLAND or CANDY LAND marks), and not for any other purpose,

including but not limited to use in any business or commercial enterprise; except as may be

subpoenaed by any court, administrative or legislative body. In the event that the receiving party

makes copies of any of the information, materials or things identified by a Confidential

Designation for use in connection with this litigation, then the receiving party shall ensure that

all such copies bear the same legend as the originals from which such copies were made.

               8.      If documents marked with a Confidential Designation are called for in a

subpoena by someone who is not a party to this action, the receiving party to whom the subpoena

is directed shall immediately give written notice thereof to each party that has designated the

documents and shall provide each such designating party with an opportunity to object to the

production of such documents in response to the subpoena.




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               9.      Material filed with the Court that has been Designated Confidential

pursuant to this Protective Order for any purpose shall be filed in a sealed envelope or other

opaque container, covered by a caption page marked with the following statement:

               “FILED UNDER SEAL

               CONFIDENTIAL -- SUBJECT TO PROTECTIVE ORDER”

               For the convenience of the Parties and the Court, a party that files a paper

containing any Confidential Designation as well as non-confidential material may file the entire

paper under seal. If any party fails to file protected documents or information under seal, the

producing party or the party claiming the confidentiality of the documents or information may

request that the Court place the filed documents or information under seal.

               10.     If a producing party inadvertently produces any material properly entitled

to a Confidential Designation without marking it with the appropriate legend, the producing

party may give written notice to the receiving party, including appropriately designated and

stamped copies of the material, that the document or information is deemed Designated

Confidential pursuant to this protective order and should be treated as such in accordance with

the provisions of this Protective Order. Upon notification of the Confidential Designation of the

document or other information, the receiving party shall use its reasonable best efforts to collect

all copies of the inadvertently- produced document or other information from persons not

entitled to access to such document or information had it been properly designated, and to treat

the document or other information thereafter as if it had been timely Designated Confidential

pursuant to this Protective Order. If the receiving party is subject to excessive costs or burden in

connection with undertaking to comply with this Paragraph, then the producing party shall

reimburse the receiving party for the reasonable expenses incurred in connection therewith. In




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no event shall the inadvertent disclosure by the producing party of documents or other

information without the appropriate Confidential Designation legend be deemed to be a waiver

in whole or in part of the producing party’s claim of confidentiality, either as to the specific

information disclosed or as to any other information relating thereto or on the same or a related

subject.

               11.     The term “Independent Expert” shall be defined as any person with whom

a Party may deem it necessary to consult concerning technical, financial, or other aspects of this

case for the preparation or trial thereof, provided such person is not an employee of a competitor

of any Party and has not been a consultant within the last year for a competitor of any Party.

               12.     Except with the prior written consent of the producing party or upon prior

order of the Court obtained upon noticed motion, material designated as “CONFIDENTIAL”

shall not be shown, delivered or disclosed to any person other than:

                       (a) Counsel for each Party, including attorneys employed in the legal

       departments of the defendants. This includes paralegals, clerical, secretarial and

       administrative employees of such counsel assigned to assist in the preparation of this

       litigation;

                       (b) Employees of any professional photocopy service utilized by counsel

               in the preparation of this litigation;

                       (c) Any author, recipient, or employee of the producing party of such

               “CONFIDENTIAL” material;

                       (d) The Court and any persons employed by the Court whose duties

       require access to such material;




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                       (e) Any Independent Expert retained by counsel to assist in the

       preparation of this case or to testify at trial or any other proceeding in this action,

       provided the documents disclosed pertain to the expected testimony of the Independent

       Expert and the disclosing party complies with Paragraph 14. This includes secretarial and

       clerical employees associated with such person; and

                       (f) Court reporters and other persons involved in recording testimony in

       his action by any means.

               14.     Any Party desiring to reveal material Designated Confidential Pursuant to

this Protective Order to Independent Expert shall first obtain a signed Undertaking, in the form

attached hereto as Exhibit A, from such person.

               15.     Neither the provisions of this Protective Order nor the filing of any

information under seal shall prevent the use, in open court, at any hearing or at trial of this case,

of any material that is subject to this Protective Order or filed under seal pursuant to its

provisions. The Parties shall meet and confer concerning appropriate methods for dealing with

material Designated Confidential Pursuant to this Protective Order at hearings and at trial.

               16.     As to depositions upon oral examination, if any counsel so states at the

deposition, that counsel shall order a transcript and the testimony of the witness shall be deemed

designated CONFIDENTIAL until the expiration of twenty (20) calendar days after the receipt

by counsel of the record of the transcript of the deposition. The deposition transcript may only

be shown to the persons specified in paragraph 12 above during the twenty (20) calendar day

period, and if counsel of record believes that the deposition transcript or portions thereof

constitutes Confidential information, counsel shall designate in writing to other counsel of record

within that twenty-day period the specific pages and lines constituting such Confidential




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Designations. If no such specific designations are made within the time period, the entire

transcript shall be deemed not to contain Confidential information and shall no longer be

governed by this Protective Order.

               17.    Unless and until otherwise ordered by the Court or agreed to in writing by

the Parties, all material Designated Pursuant To This Protective Order shall be treated in

accordance with its designation and shall not be disclosed except under the terms of this

Protective Order.

                      (a) In the event that either Party objects to the designation of any

       document or other material, such Party may, in writing, request the designating party to

       remove or change the designation. Such written request shall specifically identify the

       document or other material at issue.

                      (b) The designating party shall respond in writing within ten (10) business

       days of receipt of the written request, or within such other period of time as may be

       designated by order of the Court or agreed to by the parties. If the designating party

       refuses to remove or change the designation as requested, its written response shall state

       the reasons for this refusal. Notwithstanding the foregoing, failure to provide a timely

       written response shall be deemed a refusal of the request.

                      (c) If a confidentiality designation is challenged, the designating party

       shall have the burden to establish that the information is correctly designated within the

       meaning of this Protective Order.

               18.    This Protective Order shall not constitute a waiver of either Party’s rights

under the Federal Rules of Civil Procedure or the Local Rules of this Court.




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               19.     Any inadvertent production of documents or other material containing

privileged information shall not be deemed to be a waiver of the attorney-client privilege, work

product doctrine or any other applicable privilege or doctrine. Each Party specifically reserves

the right to demand the return of any privileged document or other material that it may produce

inadvertently during discovery if the Party determines that such document or material contains

privileged information

               20.     No later than sixty (60) days after the final adjudication of this action,

including any appeals, and upon written request by a designating party, all materials Designated

Pursuant To This Protective Order shall be returned to the designating party or shall be

destroyed, unless a motion seeking modification of this Protective Order is filed. In the event that

such materials are destroyed, the person(s) responsible for such destruction shall certify in

writing to the completion and manner of destruction. Notwithstanding the foregoing, a party may

retain one archival copy of each pleading, each deposition, hearing, and trial transcript and

exhibit, each court ruling, decision, or order, and correspondence maintained by the Parties’

outside counsel in their respective litigation files in the ordinary course of business; and nothing

herein shall require the parties' attorneys to purge or destroy any electronic files.

               21.     Nothing in this Protective Order shall limit any producing party’s use of

its own documents or shall prevent any producing party from disclosing information Designated

Pursuant To This Protective Order to any person in the manner set forth in this Protective Order.

               22.     The Court retains jurisdiction to make such amendments, modifications

and additions to this Protective Order as it may from time to time deem appropriate. Either Party

may make a request to the Court for any reasonable amendment to this Protective Order to

facilitate the efficient and appropriate handling of confidential information.




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SO ORDERED.




DATED: _______________      ____________________________________
                            UNITED STATES MAGISTRATE JUDGE




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                                            Exhibit A




                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK
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                                        :
SPERO HARITATOS,                        :
                                        :
                          Plaintiff,    :   05 Civ. 930 (DNH/GJD)
                                        :
                 - against -            :
                                        :
HASBRO, INC.                            :
and TOYS "R" US-NY LLC,                 :
                                        :
                          Defendants.   :
                                        :
------------------------------------ x


                                       UNDERTAKING

               I, _________________________________, hereby certify that I have read the

Stipulation and Protective Order Governing Confidentiality (the “Order”) entered in the above-

captioned case on ____________________ 2005, and that I understand the terms, conditions and

restrictions it imposes on any person given access to “CONFIDENTIAL” materials. I recognize

that I am bound by the terms of that Order, and I agree to comply with those terms.

               I will not disclose “CONFIDENTIAL” materials to anyone other than persons

specifically authorized by the Order and agree to return all such materials that come into my

possession to counsel from whom I received such materials. I hereby consent to be subject to the


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personal jurisdiction of the United States District Court for the Northern District of New York

with respect to any proceedings relative to the enforcement of the Order, including any

proceeding related to contempt of Court.

               I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct and that this Undertaking is executed this ____ day of

______________________ 200__, at _________________________________.



                                                     ___________________________
                                                     (Signature)


                                                     ________________________________
                                                     Home Address


                                                     ________________________________
                                                     Home Phone


                                                     ________________________________
                                                     Employer/Business


                                                     ________________________________
                                                     Job Title/Description




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